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                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                                   CASE NO.:20CR2015 KG

LUIS DANIEL RAMOS-PALOMINO,

       Defendant.

            ORDER GRANTING EXTENSION OF TIME TO FILE OBJECTIONS
                   TO PRESENTENCE INVESTIGATION REPORT

       THIS MATTER is before the Court on Defendant Luis Daniel Ramos-Palomino's

Unopposed Motion to File Objections to the Presentence Investigation Report (PSR). The

government by and through Assistant U.S. Attorney, Bradley H. Bartlett, does not oppose this

motion.

       The Court having considered the motion, being fully advised in the premises grants the

motion.

       IT IS ORDERED that the Defendant has an additional thirty (30) days to file objections

to the Presentence Investigation Report.



                                                   _________________________________
                                                   UNITED STATES DISTRICT JUDGE
